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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                            )
                                                     )         8:05CR138
                      Plaintiff,                     )
                                                     )
      vs.                                            )           ORDER
                                                     )
GUSTAVO AMBRIZ-SALDANA,                              )
                                                     )
                      Defendant.                     )


      This matter is before the Court on the motion of defendant Gustavo Ambriz-Saldana
(Ambriz-Saldana) (Filing No. 48). The motion does not comply with NECrimR 12.3 (b), in that
the motion:
      (U)     Is not supported by a brief;
      ( )     Is not supported by an Index of Evidence as required by NECrimR 12.3(b)(2)
              or a statement of what evidence will be offered at an evidentiary hearing
              requested for the motion;
      ( U ) Is not accompanied by a statement verifying that counsel for the moving party
              has conferred with opposing counsel in person or by telephone in a good-faith
              effort to resolve by agreement the issues raised by the motion and that the
              parties have been unable to reach such an agreement;
      ( )     Which requests an evidentiary hearing, does not contain a statement of the
              estimated time needed for the hearing, whether any interpreters will be needed,
              or whether any codefendant should be present and/or participate in the hearing.
      Accordingly, the motion (Filing No. 48) is :
              (   )   Held in abeyance pending________________________.
              ( U ) Denied.
      IT IS SO ORDERED.
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                                        ADMONITION
       Pursuant to NECrimR 57.2 any appeal of this Order shall be filed with the Clerk of the
Court within ten (10) days after being served with a copy of this Order. Failure to timely
appeal may constitute a waiver of any objection to the Order. The brief in support of any
appeal shall be filed at the time of filing such appeal. Failure to file a brief in support of any
appeal may be deemed an abandonment of the appeal.
       DATED this 22nd day of August, 2005.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge




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